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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                            3/14/2022
-----------------------------------X
                                   :
IN RE EUROPEAN GOVERNMENT BONDS    :    19 Civ. 2601 (VM)
ANTITRUST LITIGATION               :
                                   :    DECISION AND ORDER
                                   :
-----------------------------------X
VICTOR MARRERO, United States District Judge.

     Plaintiffs        Ohio   Carpenters’         Pension    Fund       (“Ohio

Carpenters”), San Bernardino County Employees’ Retirement

Association (“SBCERA”), and Electrical Workers Pension Fund

Local 103 I.B.E.W. (“Local 103,” and collectively with Ohio

Carpenters and SBCERA, “Plaintiffs”) bring this putative

antitrust class action, on behalf of themselves and all others

similarly situated, against defendants Bank of America, N.A.

(“BANA”);      Merrill    Lynch   International       (“Merrill     Lynch”);

Natixis    S.A.   (“Natixis”);       NatWest      Markets   plc    (“NatWest

Markets”); NatWest Markets Securities Inc. (“NMSI”); Nomura

Securities     International      Inc.     (“NSI”);     Nomura    Securities

International      plc    (“Nomura    International”);       UBS    AG;    UBS

Europe    SE   (“UBS     Europe”);   and    UBS    Securities     LLC    (“UBS

Securities”); UniCredit Bank AG (“UCB”); UniCredit Capital

Markets     LLC   (“UCM”);     Citigroup       Global    Markets     Limited

(“CGML”); Citigroup Global Markets Inc. (“CGMI”); JP Morgan

Chase Bank, N.A. (“JP Morgan Bank”); J.P. Morgan Securities

plc (“JP Morgan plc”); J.P. Morgan Securities LLC (“JP Morgan
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LLC”); RBC Europe Limited (“RBCE”); Royal Bank of Canada; RBC

Capital        Markets     (“RBC     Capital     Markets”);       Jefferies

International           Limited     (“JIL”);     and      Jefferies      LLC

(collectively with all foregoing defendants, the “Moving

Defendants”); and State Street Corporation and State Street

Bank     and    Trust     Company   (together,       “State   Street,”   and

collectively with all foregoing defendants, “Defendants”).1

        Plaintiffs purport to represent a class of all persons

or entities who purchased or sold European Government Bonds

(“EGBs”)       in   the   United    States   directly     from   Defendants

between January 1, 2007 and December 31, 2012 (the “Class

Period”), with the exception of Defendants, their employees

and affiliates, and the United States government. In their

Fourth       Amended      Consolidated       Class     Action    Complaint,

Plaintiffs claim that Defendants conspired to fix EGB prices




1   The defendants have divided themselves into several sub-categories of
    defendants, to which the Court will refer by the following terms. “Moving
    Defendants” will refer to all defendants named in the Fourth Amended
    Complaint except for State Street Corporation and State Street Bank and
    Trust Company.
         The “Foreign Defendants” are Merrill Lynch; Natixis; NatWest
    Markets; Nomura International; UBS AG; UBS Europe; UCB; CGML; JP Morgan
    plc; RBCE; Royal Bank of Canada; and JIL.
         The “TAC Defendants,” the defendants against whom the Third Amended
    Complaint (“TAC”) and Fourth Amended Complaint (“FAC”) were brought,
    are BANA; Merrill Lynch; Natixis; NatWest Markets; NMSI; Nomura
    International; NSI; UBS AG; UBS Europe; UBS Securities; UCB; and UCM.
         The “New Defendants” are CGML; CGMI; JIL; Jefferies LLC; JP Morgan
    Bank; JP Morgan plc; JP Morgan LLC; RBCE; Royal Bank of Canada; and RBC
    Capital Markets.
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during the Class Period, in violation of 15 U.S.C. Section 1

(the “Sherman Act”). (See “FAC,” Dkt. No. 146.)

       On   April    16,    2021,     the     TAC    Defendants,       the   New

Defendants, and the Foreign Defendants informed Plaintiffs,

via letter, of their intent to move to dismiss the FAC. (See

“TAC    Defendants      Letter      Motion,”       Dkt.    No.   206-1;      “New

Defendants      Letter      Motion,”        Dkt.    No.    206-2;      “Foreign

Defendants     Letter      Motion,”    Dkt.    No.     206-3,     collectively

“Letter Motions.”)

       All Moving Defendants argue that the FAC is time-barred,

inadequately     alleges      the     existence       of   an    agreement    to

manipulate the EGB market, fails to tie each defendant to the

alleged conspiracy, and fails to adequately and plausibly

plead an antitrust conspiracy under prevailing Second Circuit

case law. The Moving Defendants also argue that Plaintiffs

lack antitrust standing. In addition, the Foreign Defendants

argue that the FAC does not establish that this Court has

personal jurisdiction over any Foreign Defendant. By three

letters dated May 17, 2021, Plaintiffs responded to the Letter

Motions, refuting all grounds for dismissal. (See “Opposition

to   TAC    Defendants,”     Dkt.     No.    206-4;    “Opposition      to   New

Defendants,      Dkt.      No.      206-5;     “Opposition        to    Foreign




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Defendants,”       Dkt.    No.    206-6,         collectively     “Opposition

Letters.”)

        Also before the Court are two letter motions requesting

a conference regarding Plaintiffs’ intent to file motions for

judicial notice. The first pre-motion letter, dated May 26,

2021, asked the Court take notice of a May 21, 2021 European

Commission Press Release (“EC Release”) that announced the

issuance of a decision against “Bank of America, Natixis,

Nomura, RBS (now NatWest), UBS, UniCredit, and WestLB”2 for

participation in cartels in the primary and Secondary Market

for EGBs. (See “First Request for Judicial Notice,” Dkt. No.

203.) The second pre-motion letter, dated November 1, 2021,

requests that the Court take judicial notice of the European

Commission’s       Provisional     Non-Confidential          Decision     (“EC

Decision”)       and   Summary    of       the    Decision      (“EC   Summary

Decision”). (See “Second Request for Judicial Notice,” Dkt.

No. 217.) Moving Defendants do not object to either request.

(See “First Response,” Dkt. No. 206; “New Defendants’ Second

Response,” Dkt. No. 221; “TAC Defendants’ Second Response,”

Dkt. No. 222.)




2   The EC Release does not specify which specific corporate entities these
    names refer to or whether they refer to the general parent company.
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        The Court now construes the Moving Defendants’ Letter

Motions as motions to dismiss the FAC pursuant to Rules

12(b)(2) and 12(b)(6) and the First and Second Requests for

Judicial Notice as motions for judicial notice.3 For the

reasons set forth below, the Court will grant the motion to

dismiss of defendants Merrill Lynch, BANA, NatWest Markets,

NMSI, UBS AG, UBS Europe, UBS Securities, UCM, JP Morgan plc,

JP Morgan Bank, JP Morgan LLC, RBCE, RBC Capital Markets, and

Royal Bank of Canada. The remaining defendants are directed

to answer the FAC within twenty-one days of the date of this

Order.

                            I.    BACKGROUND4

A.      FACTUAL BACKGROUND

        The Court assumes familiarity with the facts underlying

this dispute, as detailed in the Court’s prior decisions. See

In re European Gov’t Bonds Antitrust Litig., 19 Civ. 2601,

2020 WL 4273811 (S.D.N.Y. July 23, 2020) (“TAC Decision”). To

briefly summarize, EGBs are sovereign debt securities issued

by European central governments that have adopted the Euro as



3   Kapitalforeningen Lægernes Invest v. United Techs. Corp., 779 F. App’x
    69, 70 (2d Cir. 2019) (Mem.) (affirming district court ruling deeming
    exchange of letters as motion to dismiss).
4   Except as otherwise noted, the factual background below derives from
    the FAC and the facts pleaded therein, which the Court accepts as true
    for the purposes of ruling on a motion to dismiss. Except where
    specifically quoted, no further citation will be made to the FAC.
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their official currency (“Eurozone” countries). EGBs are

treated as a single class of debt securities because Eurozone

members share common currency, certain “convergence criteria”

that aim at the development of an integrated financial market

for     the   Eurozone,   and   centralized        institutions       that   set

common monetary policy, such as the European Central Bank.

        EGB markets rely upon large financial institutions like

Defendants to act as dealers and market makers. Defendants

generally conduct EGB business through their fixed income

divisions, which are global in nature and often include

employees      of   multiple    entities        within   a   given    corporate

family. Defendants play multiple roles in the EGB markets,

but their most significant role is as primary dealers. Primary

dealers5 acquire EGBs from government issuers in the “Primary

Market,” and Defendants then trade those EGBs with other

investors in the “Secondary Market.” Plaintiffs claim that

Defendants       participated      in       a    price-fixing        conspiracy

affecting both markets.




5   The “Primary Dealer Defendants” are Merrill Lynch, CGML, JIL, JP Morgan
    plc, Natixis, NatWest Markets, Nomura International, UBS Europe, State
    Street Bank and Trust, and UCB. The FAC also lists “UniCredit S.p.A.”
    as a Primary Dealer Defendant, but the Complaint does not list that
    entity as a party to the suit.
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       1.      The Primary Market

       European government issuers first distribute their EGBs

to institutions, including the Primary Dealer Defendants, in

the    “Primary       Market.”     Distribution           typically     occurs    via

auction. Primary dealers bid on EGBs based on price and the

volume of EGBs they intend to acquire, and issuers typically

favor dealers that pay higher prices and commit to acquiring

large volumes of EGBs for resale on the Secondary Market. As

a result, the same relatively small group of primary dealers

consistently          acquire    EGBs    in       the     Primary    Market,     and,

similarly, the same dealers tend to be active primary dealers

in    multiple         EGB-issuer       countries.          The     premier     trade

association for EGBs, the Association for Financial Markets

in    Europe        (“AFME”),    listed          twenty-five      “Primary     Dealer

Members,” including all Primary Dealer Defendants, in 2012.

In    2008,    members     of    the    AFME’s       predecessor      organization

collectively traded over 85 percent of all volume in the EGB

market.

       Plaintiffs allege that the Primary Dealer Defendants

colluded       when    bidding     for       EGBs    in    the    Primary     Market,

purposefully          exploiting       the       United    States’    EGB     market.

Because       EGB    issuers    favor        dealers      who     purchase    greater

amounts of EGBs at higher prices and then successfully resell


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those bonds to other investors, the Primary Dealer Defendants

allegedly agreed to submit bids above competitive market

prices and secure greater EGB inventories. These agreements

were allegedly forged through the use of private online

chatrooms, in which traders would share confidential and

commercially sensitive information about bidding interest and

customer orders.

     2.      The Secondary Market

     According to Plaintiffs, Defendants’ alleged wrongdoing

did not end with their activity in the Primary Market for

EGBs. Plaintiffs contend that in order to counteract the

alleged   above-market      prices     that      the   Primary     Dealer

Defendants    paid   to   EGB   issuers,   the    Defendants     inflated

prices in the Secondary Market for EGBs. After primary dealers

purchase EGBs via auction in the Primary Market, the bonds

are actively traded among investors -- creating the Secondary

Market. Because Defendants sell, rather than just buy, EGBs

in the Secondary Market, this is the market where they can

profit from the EGB trade. Additionally, some countries look

at Secondary Market activity when ranking EGB dealers. Thus,

robustly participating in the Secondary Market helps primary

dealers maintain good standing with the country of EGB issues.




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     A key figure in the EGB trade is the “bid-ask spread.”

The “bid” is the price at which a dealer purchases a bond,

while the “ask” is the price at which they will sell the EGB.

The “bid-ask spread” thus reflects the dealer’s profit. A

narrow spread reflects more competitive pricing, and dealers

will often offer narrower spreads than their competitors in

order to gain customers. A wide spread usually represents a

lower bid or a higher ask, and it will usually cause customers

to deflect to other sellers. Thus, a dealer’s bid-ask spreads

should be in line with market conditions.

     Also significant is the bond’s yield. Yield shows an

investor’s return for holding a bond to maturity. For purposes

of this dispute, the important facts about a bond’s yield are

that the yield has an inverse relationship with the bond’s

price and that it is a good method of comparing bonds.

     3.    The Alleged Wrongful Conduct

     With this backdrop of the dual EGB markets, Plaintiffs

allege    that   Defendants    entered    into   a   conspiracy   to

manipulate both the Primary and Secondary Markets. Plaintiffs

claim that Defendants conspired to raise EGB prices, and

depress    yields,     by     sharing    confidential,     sensitive

information prior to the Primary-Market EGB auctions. They

allege traders employed by Defendants used chatrooms to share


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information about their bidding interest, customer orders,

and   pricing.     The    shared    information      allowed    the    alleged

conspirators       to    outbid    other   primary    dealers,    often     by

raising   their     bids    above    market   prices.     Those       inflated

auction prices then became benchmark prices in the Secondary

Market,      so    Secondary       Market     prices     were     similarly

artificially high.

      This scheme allowed Defendants to gain control over the

supply of newly issued EGBs, which meant they could control

the prices in the resale market. Consequently, Defendants are

alleged to have then fixed bid-ask spreads in the Secondary

Market, again primarily via online chatroom communications.

Obtaining confidential client information from competitors

enabled dealers to raise their asks or lower their bids and

collect additional profit. Plaintiffs contend that, absent an

agreement, no individual bank would engage in this behavior

because it is incredibly risky. If a lone dealer bids above

market in the Primary Market, it may be faced with selling

its   EGBs    at    a     steep    discount    --    making     the     gamble

unprofitable. But if that dealer bids far below market in the

primary auction, it may be shut out, which means that it would

not be able to sell in the Secondary Market without first

acquiring EGBs from another primary dealer. Similarly, the


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lone dealer could not profitably widen its bid-ask spread

without losing customers.

       The   mechanisms     of    the    market     are     complex,   but

Defendants’ alleged conspiratorial scheme is not, and the

wrongdoing Plaintiffs assert is simple. Allegedly, Defendants

conspired and colluded to inflate the prices of EGBs in both

the    Primary    and   Secondary   Markets,      sharing    confidential

information prior to the primary EGB auctions. Knowing such

information allowed all Primary Dealer Defendants to bid

above market and win trades of a large volume of EGBs --

collectively, a controlling amount. The information-sharing

then enabled all Defendants to similarly widen their bid-ask

spreads and gain greater profits in the Secondary Market than

Defendants would have gained in an unmanipulated market. As

a result, consumers, including Plaintiffs, paid higher prices

for EGBs.

       A key difference from prior versions of the Complaint is

that the FAC extensively quotes these chatroom transcripts.

Plaintiffs also heavily rely on statistical data, which will

be    discussed   in    further   detail   below,    to     argue   that   a

conspiracy existed. They claim that a comparison between the

bid yield and bid-ask spreads before, during, and after the




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Class Period shows that something was amiss during the Class

Period, when the alleged conspiracy was happening.

     4.     The European Commission’s Investigation

     Although the conspiracy Plaintiffs claim ended before

2013, Plaintiffs contend that they learned of it only after

the European Commission issued a Statement of Objections on

January 31, 2019 (the “Statement of Objections”). In the

Statement of Objections, the European Commission published

its preliminary view that “eight banks participated in a

collusive scheme that aimed at distorting competition when

acquiring and trading [EGBs]. Traders employed by the banks

exchanged commercially sensitive information and coordinated

on trading strategies. These contacts would have taken place

mainly -- but not exclusively -- through online chatrooms.”

(FAC at ¶ 308.) The European Commission did not specify which

eight banks were under investigation, but prior to filing the

FAC, Plaintiffs identified Defendants based on various media

reports and Defendants’ own filings.

     On May 20, 2021, the European Commission issued the EC

Release    announcing   its   finding    that    “Bank     of    America,

Natixis,   Nomura,    RBS   (now   NatWest),    UBS,   UniCredit,       and

WestLB”    violated     European     Union     antitrust        rules    by

participating in a cartel in the primary and secondary EGB


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markets. (See EC Release, Dkt. No. 203, Ex. A.) On October

15,   2021,    the    European     Commission        released     its    non-

confidential decision (“EC Decision”) and a summary decision

(“EC Summary Decision”), detailing its findings. (See EC

Decision, Dkt. No. 217, Ex. A; EC Summary Decision, Dkt. No.

217, Ex. B.)

B.    PROCEDURAL BACKGROUND

      Ohio    Carpenters   filed    an   initial      complaint    in    this

putative class action on March 22, 2019. (See “Complaint,”

Dkt. No. 1.) Following the consolidation of related actions

and multiple amendments to the initial Complaint, Plaintiffs

filed the Third Amended Complaint on December 3, 2019. (See

Dkt. No. 87.) On July 23, 2020, the Court granted in part and

denied   in    part   Defendants’    motion     to    dismiss.     See    TAC

Decision, 2020 WL 4273811. Specifically, the Court denied the

motion as to Natixis, Nomura International, and NSI, but it

granted the motion as to Bank of America, Merrill Lynch, NMSI,

UBS AG, UBS Europe, and UBS Securities because Plaintiffs

failed to allege an antitrust conspiracy involving those

defendants. See id. at *18–20. The Court granted the motion

to dismiss of defendant NatWest Markets for lack of personal




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jurisdiction, and the motions of defendants UCB and UCM for

lack of standing.6 See id. at *5, *14.

        On February 9, 2021, Plaintiffs filed the operative FAC,

bringing       claims   against    the    TAC      Defendants   and    the   New

Defendants. Consistent with the Court’s Individual Practices,

by     letters    dated    April    16,      2021,    TAC   Defendants,      New

Defendants, and Foreign Defendants each informed Plaintiffs

of     their   intention     to    move      for   dismissal.   (See     Letter

Motions.) TAC Defendants and New Defendants, who each joined

and incorporated the other’s arguments, raise three grounds

for dismissing the TAC: (1) failure to plead a plausible

antitrust        conspiracy;      (2)     failure     to    plead     antitrust

standing; and (3) failure to timely file this action. Foreign

Defendants, all of whom are also either TAC Defendants or New

Defendants, move for dismissal on the basis of a lack of

personal jurisdiction.

        Plaintiffs responded to the Letter Motions on May 17,

2021, challenging all four asserted grounds for dismissal.

(See Opposition Letters.) Plaintiffs also submitted a letter




6   The Court also granted the motion to dismiss from TAC defendant Bank of
    America Merrill Lynch International Designated Activity Company, a party
    not named in the FAC. The TAC Decision also dismissed plaintiff Boston
    Retirement System from the suit for lack of standing, finding that it
    was not an efficient enforcer of the antitrust laws. See 2020 WL 4273811,
    at *20. Boston Retirement System did not replead its allegations in the
    FAC.
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motion dated May 26, 2021 requesting the Court take judicial

notice of the EC Press Release announcing a decision against

Bank of America, Natixis, Nomura, RBS, UBS, UniCredit, and

non-party WestLB. (See First Request for Judicial Notice).

Moving Defendants submitted a letter to the Court noting that

they did not object to the Court taking judicial notice of

the EC Press Release. (See Dkt. No. 206.) Plaintiffs later

filed a second letter request for judicial notice, dated

November 1, 2021, asking the Court to take notice of the EC

Decision and the EC Summary Decision, which found that Bank

of America, Natixis, Nomura, RBS/NatWest, UBS, and UniCredit

conspired to fix the prices of EGBs. (See Second Request for

Judicial Notice.) TAC Defendants and New Defendants filed

responsive letters, again stating that they did not oppose

the Court taking judicial notice, but they disagreed with

Plaintiffs’ characterization of the EC Decision. (See Dkt.

Nos. 221, 222.)

                          II.   DISCUSSION

A.   REQUESTS FOR JUDICIAL NOTICE

     The Court begins by addressing the First and Second

Requests for Judicial Notice. The Court is free to take

judicial   notice   of   information   that   “is   not   subject   to

reasonable dispute” because it “can be accurately and readily


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determined from sources whose accuracy cannot be questioned,”

and notice can be taken “at any stage of the proceeding.”

Fed. R. Evid. 201. That includes during the decision whether

to grant a motion to dismiss. See Simmons v. Trans Express,

16 F.4th 357, 360 (2d Cir. 2021).

      The EC Release, EC Decision, and EC Summary Decision all

fall into this category of information subject to judicial

notice. Thus, both letter motions requesting that the Court

take judicial notice are granted. The Court notes that, as

required by the law of this Circuit, it is merely taking

notice of the existence of and the facts contained within the

EC Release, EC Decision, and EC Summary Decision, but it is

not taking notice of those documents for the truth of the

matters asserted. See, e.g., Staehr v. Hartford Fin. Servs.

Grp., 547 F.3d 406,425 (2d Cir. 2008); Roth v. Jennings, 489

F.3d 499, 509 (2d Cir. 2007).

B.    GENERAL STANDARDS FOR MOTIONS TO DISMISS

      The Court addresses Defendants’ four proposed grounds

for   dismissal    in   the   following    order:    (1)    personal

jurisdiction; (2) timeliness; (3) antitrust standing; and (4)

antitrust conspiracy. Because the Letter Motions are made

pursuant to Rule 12(b)(6) for all grounds except for personal




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jurisdiction,     the   Court      begins   by     noting     the   general

standards for that rule.

     Rule 12(b)(6) provides for dismissal of a complaint for

“failure to state a claim upon which relief can be granted.”

Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This

standard is met “when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id. A

complaint should be dismissed if the plaintiff has not offered

factual allegations sufficient to render the claims facially

plausible. See id. However, a court should not dismiss a

complaint   for   failure    to    state    a    claim   if   the   factual

allegations sufficiently “raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555.

     The    requirement     that    a    court     accept     the   factual

allegations in the complaint as true does not extend to legal

conclusions. See Iqbal, 556 U.S. at 678. In adjudicating a

Rule 12(b)(6) motion, a court must confine its consideration

“to facts stated on the face of the complaint, in documents


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appended to the complaint or incorporated in the complaint by

reference, and to matters of which judicial notice may be

taken.” Leonard F. v. Israel Disc. Bank of N.Y., 199 F.3d 99,

107 (2d Cir. 1999) (internal quotation marks omitted).

C.   PERSONAL JURISDICTION

     The Foreign Defendants move for dismissal pursuant to

Federal Rule of Civil Procedure 12(b)(2) (“Rule 12(b)(2)”),

arguing that Plaintiffs failed to establish that this Court

has personal jurisdiction over each Foreign Defendant. In the

TAC Decision, the Court found Plaintiffs alleged sufficient

facts to allow the exercise of personal jurisdiction over

Foreign    Defendants     Merrill     Lynch,     Natixis,     Nomura

International, UBS Europe, UBS AG, and UCB (together, the

“TAC Foreign Defendants”), but the Court found it lacked

personal jurisdiction over NatWest Markets. See TAC Decision,

2020 WL 4273811, at *5. Following the filing of the FAC, the

TAC Foreign Defendants and NatWest Markets, joined by new

Foreign Defendants CGML, JP Morgan plc, RBCE, Royal Bank of

Canada, and JIL, move for Rule 12(b)(2) dismissal.

     1. General Legal Standards

     Rule 12(b)(2) provides for the dismissal of complaints

for lack of personal jurisdiction. At the motion to dismiss

stage, Plaintiffs need only make a prima facie showing of


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personal     jurisdiction.    This      showing   requires    “legally

sufficient allegations of jurisdiction, including an averment

of facts that, if credited[,] would suffice to establish

jurisdiction over the defendant.” Penguin Grp. (USA) Inc. v.

Am. Buddha, 609 F.3d 30, 34–35 (2d Cir. 2010) (internal

quotation marks omitted). To establish personal jurisdiction,

plaintiffs must show proper service on the defendants, a

statutory    basis   for   personal     jurisdiction,   and   that    the

exercise of jurisdiction comports with the constitutional

doctrine of due process. See Licci ex rel Licci v. Lebanese

Canadian Bank, SAL, 673 F.3d 50, 59–60 (2d Cir. 2012). Foreign

Defendants do not contest the adequacy of service here. While

personal jurisdiction can be either general or specific to

satisfy     constitutional   and     statutory    requirements,      only

specific jurisdiction is alleged here.

          a. Statutory Basis for Jurisdiction

     Plaintiffs assert two different statutory bases for

personal jurisdiction. The first is Section 12 of the Clayton

Act (“Section 12”), which states that a              suit under the

antitrust laws “against a corporation may be brought . . . in

any district wherein it may be found or transacts business;

and all process in such cases may be served in the district

of which it is an inhabitant, or wherever it may be found.”


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15 U.S.C. § 22. The phrase “transacts business” means “the

practical, everyday business or commercial concept of doing

business        or    carrying    on   business     of     any     substantial

character.” Daniel v. Am. Bd. of Emergency Med., 428 F.3d

408, 428 (2d Cir. 2005) (quoting United States v. Scophony

Corp., 333 U.S. 795, 807 (1948)).

        Section 12 authorizes service of process in any district

where the defendant corporation conducts business, which

constitutes “Congress’ typical mode of providing for the

exercise of personal jurisdiction.” BNSF Ry. v. Tyrrell, 137

S. Ct. 1549, 1555 (2017). Accord Daniel, 428 F.3d at 424

(“[T]he plain language of Section 12 indicates that its

service     of       process    provision   applies       (and,        therefore,

establishes personal jurisdiction) only in cases in which its

venue     provision       is     satisfied.”)     Thus,     the        “transacts

business” analysis is key to determining whether Section 12

provides a statutory basis for personal jurisdiction over a

particular defendant.

        The second statutory ground for exercise of federal

court jurisdiction is found in Federal Rule of Civil Procedure

4(k)(1),    which       establishes    personal    jurisdiction           over   a

defendant who is subject to jurisdiction in the forum state’s

courts     of    general       jurisdiction.    See      Fed.     R.    Civ.     P.


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4(k)(1)(A). Here, that state is New York, so the relevant

question     is   whether    New   York   law   allows    exercise    of

jurisdiction over the Foreign Defendants under the facts

Plaintiffs    plead.   New    York’s    long-arm   statute,   C.P.L.R.

Section    302(a)(1)    (“Section       302(a)(1)”),     provides    for

specific jurisdiction “depending on the foreign defendant’s

contacts with the state in connection with the cause of

action.” Knight v. Std. Chtd. Bank, 531 F. Supp. 3d 755, 763

(S.D.N.Y. 2020); see also C.P.L.R. § 302(a)(1) (“[A] court

may exercise personal jurisdiction over any non-domiciliary,

. . . , who in person or through an agent . . . transacts any

business within the state or contracts anywhere to supply

goods or services in the state.”).

     The Second Circuit has articulated a two-factor test for

determining whether a court has personal jurisdiction over a

defendant under Section 302(a)(1): “(1) The defendant must

have transacted business within the state; and (2) the claim

asserted must arise from the business activity.” Licci ex

rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 168

(2d Cir. 2013) (quoting Solé Resort, S.A. de C.V. v. Allure

Resorts Mgmt., 450 F.3d 100, 103 (2d Cir. 2006)). Section

302(a)(1) does not require that every element of the claim




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have New York contacts, but rather at least one element must

arise from the in-state contacts. Id. at 169

        When    it    comes     to    personal       jurisdiction,         Section

302(a)(1) is more restrictive than the Fourteenth Amendment’s

Due     Process       Clause,     meaning      that    sometimes          personal

jurisdiction may exist under the Constitution but not under

New York law. See Knight, 531 F. Supp. 3d at 763 (citing

Energy Brands Inc. v. Spiritual Brands, Inc., 571 F. Supp. 2d

458, 469 (S.D.N.Y. 2008) and United States v. Montreal Tr.

Co., 358 F.3d 239, 242 (2d Cir. 1966)). Likewise, if the

Constitution         does   not      allow    the    exercise      of    personal

jurisdiction, there will not be personal jurisdiction under

New York law. See id. at 765. For this reason, district courts

often    begin       by   assessing     the    constitutional           basis   for

personal jurisdiction.

          b. Constitutional Basis for Jurisdiction

        The    Fourteenth     Amendment’s      Due    Process      Clause       also

limits the cases a court may hear to those in which the court

has personal jurisdiction over the defendant. That means a

defendant must have “such ‘contacts’ with the forum State

that ‘the maintenance of the suit’ is ‘reasonable, in the

context of our federal system of government,’ and ‘does not

offend    traditional       notions     of    fair    play   and    substantial


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justice.’” Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141

S.   Ct.   1017,    1024    (2021)      (quoting    Int’l    Shoe     Co.    v.

Washington,   326    U.S.       310,   316–17    (1945)).    The     requisite

contacts to satisfy specific personal jurisdiction “often go

by the name ‘purposeful availment,’” id. (quoting Burger King

v. Rudzewicz, 471 U.S. 462, 475 (1985)), which means that the

defendant’s contacts with the forum state must be of their

“own choice and not ‘random, isolated, or fortuitous.’” Id.

(quoting Keeton v. Hustler’s Magazine, 465 U.S. 770, 774

(1984)).

      Similar to New York statutory law, due process requires

that “the suit must arise out of or relate to the defendant’s

contacts    with    the    forum.”      Bristol-Myers       Squibb    Co.    v.

Superior    Ct.,    137    S.    Ct.    1773,    1780   (2017)      (internal

quotations    omitted).         Put    simply,     “there    must     be    ‘an

affiliation between the forum and the underlying controversy,

principally, [an] activity or an occurrence that takes place

in the forum State and is therefore subject to the State’s

regulation.’” Id. (quoting Goodyear Dunlop Tires Ops., S.A.

v. Brown, 564 U.S. 915, 919 (2011)).

      As the Court noted in the TAC Decision, the Second

Circuit has stated that a defendant that directly transacts

financial instruments in New York has purposefully availed


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itself of New York and may be subject to personal jurisdiction

for claims that arise from those financial transactions. See

TAC Decision, 2020 WL 4273811, at *6 (citing Charles Schwab

Corp. v. Bank of Am. Corp., 883 F.3d 68, 82–83 (2d Cir.

2018)). A defendant who indirectly transacts business in

financial instruments may still purposefully avail itself of

the forum state if it transacted through an agent who “acted

in New York for the benefit of, with the knowledge and consent

of, and under some control by, the nonresident principal.”

Charles Schwab, 883 F.3d at 85. In order for a Court to find

purposeful        availment,    the    agent     must     be   acting    for   the

defendant-principal’s benefit, with its knowledge, and under

some level of control. Id.

            c. Conspiracy Jurisdiction

       As    an    alternative        means     of   establishing        personal

jurisdiction, an antitrust plaintiff may show “conspiracy

jurisdiction” by alleging that “(1) a conspiracy existed; (2)

the defendant participated in the conspiracy; and (3) a co-

conspirator’s overt acts in furtherance of the conspiracy had

sufficient        contacts     with    a    state    to    subject      that   co-

conspirator to jurisdiction in that state.” TAC Decision,

2020 WL 4273811, at *6 (quoting Charles Schwab, 883 F.3d at

87).


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        2. Analysis

        Plaintiffs    re-assert      the       same    grounds    for    personal

jurisdiction that they raised in defense of the TAC: (1)

Foreign Defendants are alleged to have marketed, distributed,

and sold EGBs in the United States; (2) the claims arise from

contact with the forum state because Foreign Defendants used

New York-based affiliates to market, distribute, and sell the

EGBs to Plaintiffs; and (3) Foreign Defendants conspired with

their     United      States      affiliates          such    that     conspiracy

jurisdiction        provides      for     personal       jurisdiction.        (See

Opposition to Foreign Defendants at 2–3.)

        Generally speaking, the allegations against the new

Foreign Defendants closely mirror those brought against the

TAC Foreign Defendants. The Foreign Defendants managed an

inventory      of     EGBs     and      determined           pricing    for   EGB

transactions, but they used New York-based affiliates as

agents to effectuate the transactions in the United States.

Under Charles Schwab, this shows that the Foreign Defendants

conducted     business       in    New        York,    establishing      minimum

contacts, and an agency relationship can establish purposeful

availment of the New York forum.

        Plaintiffs’ claims are based on the alleged inflation of

EGB prices, so their claims arise from the very conduct that


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connects Foreign Defendants to the forum state. Further, the

Court has identified no reason why the exercise of personal

jurisdiction      over   most   Foreign   Defendants   would   offend

traditional notions of fair play and substantial justice. The

Court’s conclusion in the TAC Decision regarding personal

jurisdiction remains valid: the interests of Plaintiffs and

the forum outweigh any litigation burden on the Defendants.

See TAC Decision, 2020 WL 4273811, at *6.

       The Court must always assess a defendant’s contacts and

personal jurisdiction individually. That individual analysis

reveals that the above general summation holds for most

Foreign Defendants, with one notable exception. The Court

finds the FAC failed to establish that defendant NatWest

Markets purposefully availed itself of jurisdiction in New

York for claims relating to EGB trade. The FAC lacks a

connection between NatWest Markets’s EGB transactions and the

forum state, so the Court lacks personal jurisdiction over

NatWest Markets. The Court concludes, however, that it does

have   personal    jurisdiction    over   Merrill   Lynch,   Natixis,

Nomura International, UBS Europe, ECB, CGML, JP Morgan plc,

RBCE, Royal Bank of Canada, and JIL.




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           a. TAC Foreign Defendants

        The TAC Foreign Defendants ask the Court to reassess its

prior decision that Plaintiffs had made a prima facie case

for personal jurisdiction in light of the Supreme Court’s

recent decision in Ford Motor Company v. Montana Eighth

Judicial District Court, 141 S. Ct. 1017 (2021). Outside of

Ford’s      possible    application,       the   TAC   Foreign   Defendants

reassert the same arguments for dismissal that they made in

seeking to dismiss the TAC. Because Ford does not alter the

Court’s prior finding that the TAC Foreign Defendants are

subject to its jurisdiction, the Court finds it has personal

jurisdiction         over     Merrill       Lynch,      Natixis,    Nomura

International, UBS Europe, UBS AG, and UCB for the reasons

asserted in the TAC Decision.7 See TAC Decision, 2020 WL

4273811, at *7–10.

        In Ford, the Supreme Court rejected the argument that

the conduct underlying a plaintiff’s claim must be caused by

the defendant’s contacts with the forum state for the court

to exercise personal jurisdiction over that defendant. See

Ford, 141 S. Ct. at 1026. The Supreme Court reiterated that



7   The Court previously found the statutory basis for personal jurisdiction
    over all TAC Foreign Defendants was rooted in Rule 4(k)(1) and New York
    Section 302(a)(1). Due to the TAC Foreign Defendants business dealings
    in New York, they were subject to general jurisdiction in New York
    courts and did not fall within the realm of Rule 4(k)(2).
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the suit must be either caused by or relate to the defendant’s

contacts with the forum. See id. The TAC Defendants are

correct     that       Ford   clarified       that       specific    personal

jurisdiction “requires a ‘strong relationship’ between the

forum    and     the   claims.”    (Foreign       Defendants   Motion     at   1

(quoting Ford, 141 S. Ct. at 1028).) In fact, the Supreme

Court stated that a “strong relationship among the defendant,

the forum, and the litigation” is “the essential foundation

of   specific      jurisdiction.”         Ford,    141    S.   Ct.   at   1028

(quotations omitted). That standard is met here.

        As the Court explained in detail in the TAC Decision,

with respect to each specific TAC Foreign Defendant, all TAC

Foreign Defendants had strong, intentional contacts with New

York.     They    transacted      business,       including     selling    and

marketing EGBs, in New York, and they purposefully availed

themselves to the jurisdiction of New York courts. See TAC

Decision, 2020 WL 4273811, at *7–10. As the TAC Decision

detailed, the TAC Foreign Defendants all knowingly transacted

business in New York, primarily through affiliates with whom

they had an agent-principal relationship. Those New York-

based    affiliate-agents         sold    EGBs,    at    allegedly   inflated

prices, to members of the purported class, so the TAC Foreign

Defendants’ contacts with New York are directly linked to the


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legal     claims      underlying    this       dispute      and   the   litigation

before this Court.

        By working with their New York-based agents to sell EGBs

to consumers in the United States, the TAC Foreign Defendants

purposefully availed themselves of jurisdiction in New York.

See Charles Schwab, 883 F.3d at 85. Their business activities

gave them “fair warning” that they could be haled into New

York courts, as required to afford due process. Ford, 141 S.

Ct.     at    1025.    The    Court’s     exercise     of    jurisdiction     here

comports with notions of fair play and substantial justice.

The Court DENIES the motions to dismiss for lack of personal

jurisdiction of Merrill Lynch, Natixis, Nomura International,

UBS Europe, UBS AG, and UCB.

             b. NatWest Markets

        The     Court        previously        found   it     lacked      personal

jurisdiction over NatWest Markets because Plaintiffs did not

allege       with     specificity       that    NatWest      Markets     conducted

business        in     New      York,     rendering         Section      302(a)(1)

inapplicable. See TAC Decision, 2020 WL 4273811, at *8. The

Court was similarly unable to conclude that Federal Rule of

Civil Procedure 4(k)(2)8 provided a basis for jurisdiction,



8   Plaintiffs no longer assert Federal Rule of Civil Procedure 4(k)(2) as
    a basis for personal jurisdiction. (See Opposition to Foreign Defendants
    at 3.)
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and     due    to     other    pleading          deficiencies,        conspiracy

jurisdiction did not provide a basis for jurisdiction. Id.

        In the FAC, Plaintiffs allege that an unnamed, London-

based NatWest Markets EGB trader traveled to New York, as

evidenced in chat logs. (See FAC ¶ 54.) Further, Plaintiffs

allege NatWest Markets operated a New York branch during the

Class     Period      and   “execut[ed]          European    Government       Bond

transactions        directly    with     investors          located    in     this

District.” (FAC ¶¶ 55–56.) The FAC cites data that NatWest

engaged in “more than 3,500 transactions” during the Class

Period, but provides no breakdown of how many, if any, of

those    transactions       were   in    EGBs.      (FAC    ¶   57.)    The    FAC

establishes that NatWest Markets sold securities, booked

corporate      loan    products,   was       a   Federal    Reserve    official

foreign exchange counterparty, and had a branch office, all

in New York during the Class Period.

        This   is     sufficient   to    satisfy       Section    12’s      venue

requirement and, consequently, provides a statutory basis for

the exercise of personal jurisdiction over NatWest Markets in

New York. The FAC plausibly alleges that NatWest Markets

“transacts business” in New York. See Daniel, 428 F.3d at

428. The Clayton Act therefore provides a statutory basis for

personal jurisdiction over NatWest Markets.


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     The exercise of personal jurisdiction must also comply

with constitutional requirements of due process. The Supreme

Court has repeatedly stated that the plaintiff’s claims “must

arise out of or relate to the defendant’s contacts” with the

forum state. Bristol-Myers Squibb Co. v. Superior Ct., 137 S.

Ct. 1773, 1780 (2017). As recently reiterated in Ford, this

means that “there must be an affiliation between the forum

and the underlying controversy, principally an activity or an

occurrence   that   takes   place       in   the   forum    state   and   is

therefore subject to the State’s regulation.” Ford, 141 S.

Ct. at 1025 (internal quotations omitted).

     While there is no question that NatWest Markets does

business in New York, the FAC does not answer whether they

transact EGB business within New York State. Unlike the TAC

Foreign   Defendants,    NatWest    Markets’        local    EGB    trading

affiliate is not located in this District, but in Stamford,

Connecticut. (TAC ¶ 48.) The FAC states that NatWest’s weekly

European trade publication tells “interested investors in the

United States to contact fixed-income sales employees located

at NatWest Markets Securities Inc. headquarters in Stamford,

Connecticut, who were tasked with . . . arranging European

Government Bond trades with NatWest.” (FAC ¶ 52.) The legal

claims here arise from that EGB trading activity. The Court


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cannot find a sufficient connection between the forum and

that activity.

        Plaintiff must show a “strong relationship among the

defendant,      the   forum,   and   the   litigation”     to    establish

personal jurisdiction, Ford, 141 S. Ct. at 1028, and here,

the last link in that chain is missing. Nothing in the FAC

links NatWest Markets, New York, and this EGB antitrust

action, so the exercise of personal jurisdiction over NatWest

Markets would not comport with “traditional notions of fair

play and substantial justice.” Int’l Shoe, 326 U.S. at 316.

The Court therefore finds it lacks personal jurisdiction over

defendant     NatWest    Markets.9    NatWest   Markets’s       motion   for

dismissal pursuant to Rule 12(b)(2) is GRANTED.

           c. CGML

        Turning to the new Foreign Defendants, the FAC alleges

that CGML sold EGBs in the United States through its New York-

based broker-dealer affiliate, CGMI, and that both companies

operated within the same “Global Markets” business line. (FAC

¶¶ 98–99.) Plaintiffs further allege that CGML employees

regularly     worked    with   New   York-based    CGMI   employees      who

worked on business and pricing strategies for EGB sales during


9   Because the Court finds, below, that Plaintiffs failed to allege a
    plausible conspiracy involving NatWest Markets, conspiracy jurisdiction
    does not provide a basis for the Court’s exercise of personal
    jurisdiction over NatWest Markets.
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the Class Period. (FAC ¶¶ 100–01.) Plus, CGML allegedly

handled the pricing of and inventory for all its New York-

based affiliates’ EGB transactions. (FAC ¶ 104.)

     The Court is satisfied that these allegations amount to

a prima facie showing of personal jurisdiction over CGML based

on the principles explained in Charles Schwab. The Complaint

adequately alleges that CGML had an agency relationship with

CGMI. CGML and CGMI employees regularly worked together in

Citigroup’s       “Global    Markets”     business    line,      and   CGML

employees provided pricing and inventory for the EGB sales

conducted by CGMI employees in New York. Plaintiffs have shown

CGML transacted business in New York and purposefully availed

itself of the forum by aiding its New York-based agent in

buying and selling EGBs during the Class Period. The FAC

supports a finding of personal jurisdiction under either New

York’s Section 302(a)(1) or the Clayton Act’s Section 12.

There   is    a    relationship      between   the    litigation,      the

defendants, and the forum, such that the Court’s exercise of

personal jurisdiction over CGML comports with due process, as

explained    in    Ford.    The   Court   concludes   it   has    personal

jurisdiction over CGML.




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        d. JP Morgan plc

     The   Court   is   similarly     persuaded   it   has   personal

jurisdiction over JP Morgan plc. The FAC alleges that JP

Morgan plc maintained all EGB inventory and priced all EGB

trades for New York-based affiliates JP Morgan LLC and JP

Morgan Bank. (FAC ¶ 106.) The FAC sufficiently alleges a

principal-agent relationship between JP Morgan plc and JP

Morgan LLC. Both entities operate within the same “Investment

Bank” business segment of parent company JPMorgan Chase & Co.

(FAC ¶ 107), and throughout the Class Period, JP Morgan LLC

distributed EGB research and pricing information compiled and

published by JP Morgan plc. (FAC ¶ 108.)

     Again, applying Charles Schwab, these actions show JP

Morgan plc purposefully availed itself to jurisdiction in New

York. Because JP Morgan plc was intentionally and intimately

involved in business related to EGB trading in New York, there

is “an affiliation between the forum and the underlying

controversy,” Bristol-Myers Squibb Co., 137 S. Ct. at 1780

(quotations omitted), and this suit arises out of or relates

to JP Morgan plc’s contacts with New York. The Court finds no

reason why the exercise of personal jurisdiction over JP

Morgan plc would offend traditional notions of fair play and




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substantial justice, so the Court concludes it may exercise

jurisdiction over JP Morgan plc.

        e. JIL

     The facts alleged regarding JIL are quite similar to

those concerning JP Morgan plc, and the Court concludes JIL

is subject to its jurisdiction in this matter. JIL and

Jefferies LLC, the New York-based broker-affiliate, operated

within the same business segment of Jefferies Financial Group

Inc. (FAC ¶ 111.) JIL published marketing materials related

to EGBs, and Jefferies LLC distributed those materials in the

United States via its New York office. (FAC ¶ 114.) Jefferies

LLC acted as an agent of JIL (FAC ¶ 177), and JIL maintained

the company’s inventory of EGBs and set the pricing for all

of Jefferies LLC’s EGB transactions during the Class Period.

(FAC ¶ 115.)

     Taking these facts into consideration, the Court finds

Plaintiffs have adequately alleged that, in transacting EGBs

in New York, Jefferies LLC was acting to the benefit of JIL,

with JIL’s knowledge, and JIL, as the entity responsible for

pricing all EGBs and in control of the inventory, had some

control over Jefferies LLC’s actions. Thus, JIL had the

requisite minimum contacts with New York and purposefully

availed itself of doing business in New York. See Charles


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Schwab, 883 F.3d at 85. The Court’s exercise of personal

jurisdiction over JIL is in line with due process.

        f. RBCE and Royal Bank of Canada

     Finally, the Court finds, given the facts alleged in the

FAC, it may exercise personal jurisdiction over defendant

Royal Bank of Canada and its wholly-owned subsidiary, RBCE.

Royal Bank of Canada operates three branches in the United

States, located in New York, New York, and is listed on the

New York Stock Exchange. (FAC ¶¶ 125–26.) RBCE allegedly

distributed EGB marketing materials directly to investors in

the United States, and it traded with investors in the United

States through a New York-based broker-dealer affiliate, RBC

Capital Markets. (FAC ¶ 119). RBC Capital Markets is also a

wholly-owned subsidiary of Royal Bank of Canada. (Id.) Both

subsidiary companies share a brand name and their employees

work together closely to market and trade EGBs to American

investors from RBCE’s inventory. (FAC ¶ 121.) The FAC states

that Royal Bank of Canada managed compliance and internal

controls for its subsidiaries, including in the EGB trade.

(FAC ¶ 123.) Like many of the other defendants, RBCE priced

EGB transactions and maintained EGB inventory for trades

conducted by their New York-based affiliate-agent. (FAC ¶

124.) RBC Capital Markets and Royal Bank of Canada are alleged


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to have acted as an agent of principal RBCE. (FAC ¶¶ 127,

182, 184.)

       Thus, the FAC shows that RBCE and Royal Bank of Canada

each    conducted   business   in     and   maintained   substantial

contacts with New York. Through both direct action and the

actions of RBC Capital Markets -- a wholly-owned subsidiary

of Royal Bank of Canada and an agent of RBCE -- both entities

purposefully availed themselves of the privilege of doing

business in New York. The Court is persuaded that its exercise

of personal jurisdiction over these defendants comports with

fair play, substantial justice, and due process.

D.     TIMELINESS AND FRAUDULENT CONCEALMENT

       Plaintiffs’ next argument for dismissal is that the

action is untimely under the Sherman Act’s four-year statute

of limitations. See 15 U.S.C. § 15b. The alleged conspiracy

ended in 2012, but this action was first filed in 2019.

Plaintiffs argue their suit is not time-barred because the

statute of limitations was tolled by Defendants’ fraudulent

concealment. The Court considered this argument in the TAC

Decision and concluded that Plaintiffs had adequately alleged

fraudulent concealment. See TAC Decision, 2020 WL 4273811, at

*10–12.




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       As the Court explained in its prior decision, fraudulent

concealment has three elements that the Second Circuit has

described in two different formulations. See id. at *10. Under

either formulation the three elements are essentially the

same. To toll the statute of limitations, a plaintiff must

show (1) wrongful concealment by the defendant (2) that

prevented the plaintiff from learning about the wrong during

the limitations period (3) despite plaintiff’s due diligence

in    pursuing   or    learning      of    the   claim.   See   New    York   v.

Hendrickson Bros. Inc., 840 F.2d 1065, 1083 (2d Cir. 1988);

In re Merrill Lynch Ltd. P’ships Litig., 154 F.3d 56, 60 (2d

Cir. 1998).

       This    Court     previously        found    Plaintiffs’       pleadings

satisfied all three elements of this test such that they

adequately alleged fraudulent concealment and the action was

not untimely. See TAC Decision, 2020 WL 4273811, at *12. The

Court found that the first two elements were easily satisfied,

and    while   the     third   was    a    closer   call,   ultimately        the

pleadings were adequate to satisfy the heightened pleading

standards of Federal Rule of Civil Procedure 9(b). Id. at

*11–12. In the Letter Motions presently before the Court,

Moving Defendants do not argue that Plaintiffs failed to meet

the first two elements for fraudulent concealment. Rather,


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they argue that Plaintiffs did not exercise due diligence.

(See New Defendants Letter Motion at 3.)

     Because Plaintiffs allege a price-fixing conspiracy,

that scheme is “self-concealing” and they “need not show any

additional affirmative acts of concealment by the defendants”

to establish defendants concealed their wrongdoing. Vincent

v. Money Store, 304 F.R.D. 446, 459 (S.D.N.Y. 2015). But as

the Court noted in the TAC Decision, that is not enough to

excuse an exercise of due diligence. See TAC Decision, 2020

WL 4273811, at *11.

     In the FAC, Plaintiffs provide numerous reasons why due

diligence could not have revealed the conspiracy prior to the

end of the limitations period. (See FAC ¶ 379.) Plaintiffs

also cite “active steps [Defendants took] to conceal evidence

of their misconduct,” namely having public codes of conduct

that vowed all trading operations were fair. (FAC ¶ 380.)

They directly quote the codes of conduct of Bank of America,

Merrill Lynch, Natixis, RBS, Nomura, UBS, UniCredit, State

Street,   Citigroup,   Jefferies,     and   RBC   --   all   Defendant

families except J.P. Morgan. (See FAC ¶ 380.) As explained in

the TAC Decision and in this Court’s decision in Hinds County,

Mississippi v. Wachovia Bank, N.A., where a plaintiff relies

on misrepresentations of above-board behavior, allegations


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about their reliance on those false reassurances can prove

sufficient due diligence to withstand a motion to dismiss.

See TAC Decision, 2020 WL 4273811, at *11 (citing Hinds Cty.,

Miss.    v.    Wachovia   Bank    N.A.,   700   F.     Supp.   2d   378,   400

(S.D.N.Y. 2010)).

     However, the Second Circuit has clarified that district

courts should not require plaintiffs to make a complete and

definite showing of due diligence at the motion to dismiss

stage. See BPP Ill. v. Royal Bank of Scot. Grp. PLC, 603 F.

App’x 57, 59 (2d Cir. 2015) (summary order) (“Although a

plaintiff bears the burden of showing that the discovery rule

tolls the statute of limitations, the statute of limitations

is an affirmative defense and a plaintiff is not required to

plead,    in    a   complaint,    facts   sufficient      to   overcome     an

affirmative defense.” (internal quotations omitted)). Courts

in this district have since found that an argument that

plaintiffs failed to exercise reasonable diligence “may win

another day [later in the litigation], but it does not provide

a basis for dismissal” at the motion to dismiss stage. City

of Phila. v. Bank of Am. Corp., 498 F. Supp. 3d 516, 539

(S.D.N.Y. 2020).

     Plaintiffs       allege     Defendants     were    part   of   a   self-

concealing scheme that contradicted the public affirmations


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and promises they were making to their investors.10 In cases

of fraudulent concealment, there is only so much that “a

reasonably       diligent    plaintiff      would   or   could   have   known

regarding the claim.” Stone v. Williams, 970 F.2d 1043, 1049

(2d Cir. 1992). It is unclear what more Plaintiffs could have

done here to satisfy their burden of due diligence. Perhaps

discovery will reveal they did, indeed, do more. Or, on the

other hand, it may reveal that they could have and should

have done more prior to the expiration of the limitations

period. But given the self-concealment of the wrongdoing,

Plaintiffs’ lack of knowledge regarding any possible injury,


10    Defendants argue that this Court previously found that “TAC Defendants’
     public statements about their general compliance with the law excused
     Plaintiffs’ lack of due diligence.” (New Defendants Letter Motion at
     3.) This is a misrepresentation of the Court’s prior holding. The Court
     did not excuse Plaintiffs from satisfying the due diligence requirement
     in their establishment of fraudulent concealment, but rather it
     concluded that “[w]hile Plaintiffs’ allegations of due diligence . . .
     are certainly not extensive, they are adequate at the pleading stage.”
     TAC Decision, 2020 WL 4273811, at *12.

          Defendants then cite a recent decision in this District to support
     their claim that the “public statements pled in the FAC” were
     insufficient because the recent decision stated “communications to the
     community at large will not generally support a finding of fraudulent
     concealment.” (New Defendants Letter Motion at 3 (quoting In re Merrill,
     BofA, & Morgan Stanley Spoofing Litig., 19 Civ. 6002, 2021 WL 827190,
     at *11 (S.D.N.Y. Mar. 4, 2021)). However, the facts alleged in Merrill
     have one key, and determinative, distinction: The Court there found
     Plaintiffs had, at minimum, inquiry notice that they were injured under
     the Commodity Exchange Act within the limitations period. In re Merrill,
     2021 WL 827190, at *7. Plaintiffs did not bring suit during the
     limitations period because they did not know the identities of the
     defendants, but they claimed to have exercised due diligence because
     they relied on the defendants’ public representations. Id. at *11. This
     case differs in that Plaintiffs had no notice they were injured prior
     to the end of the Class Period, so they had no reason to conduct
     diligence or disbelieve statements made by the banks and securities
     dealers from whom they purchased EGBs.
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and Defendants’ public promises of fair trading, the due

diligence question is too fact-intensive to support dismissal

at this time. At this stage in the proceeding, the Court is

satisfied    that    the   pleadings     establish      all   elements   of

fraudulent concealment as to defendants Bank of America,

Merrill Lynch, Natixis, RBS, Nomura, UBS, UniCredit, State

Street, Citigroup, Jefferies, and RBC and the action should

not be dismissed as untimely at this time.

     While    Plaintiffs     have   adequately        alleged   fraudulent

concealment as to most Moving Defendants, they have not done

so as to the J.P. Morgan defendants. Plaintiffs make no

allegations   that    J.P.   Morgan      made   any    public   statements

regarding their trading practices that may have dissuaded

Plaintiffs from “undertak[ing] further inquiry.” Hinds Cty.,

700 F. Supp. 2d at 400. Plaintiffs’ fraudulent concealment

allegations as to all other defendants were not extensive and

just crossed the threshold of being pled with particularity.

The absence of a key pleading relating to J.P. Morgan means

the FAC does not meet the heightened pleading standard for

this group of defendants. Plaintiffs assert that J.P. Morgan

should not be dismissed because “its code of conduct was

inadvertently not alleged in the FAC,” but that code is

“judicially noticeable.” (Opposition to New Defendants at 3.)


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     The Court disagrees with that assessment. As discussed

above, on a motion to dismiss, this Court may take judicial

notice of matters outside the Complaint only if they are “not

subject   to   reasonable   dispute   because   it   .   .   .   can   be

accurately and readily determined from sources whose accuracy

cannot reasonably be questioned.” Fed. Rule of Evid. 201. A

page from a company’s public website does not qualify for

such consideration. Indeed, while the Second Circuit has

stated that a court may take notice of public records, it has

“stress[ed] that [its] holding relates to public disclosure

documents required by law to be filed, and actually filed,

with the SEC, and not to other forms of disclosure such as

press releases or announcements at shareholder meetings.”

Kramer v. Time Warner, Inc., 937 F.2d 767, 774 (2d Cir. 1991).

     Plaintiffs cite Roth v. Jennings as support for their

assertion that the J.P. Morgan code of conduct is subject to

judicial notice, but that decision, which relies on Kramer,

refers to “documents filed with the SEC.” Roth, 489 F.3d at

509. Roth and Kramer emphasized the importance of judicial

notice of public documents when the allegations relied on

those documents making certain representations or omissions.

See id.; Kramer, 937 F.2d at 774.




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        Here, the FAC does not make any allegations about J.P.

Morgan’s code of conduct and the Court has no permissible

reason to inspect the code to verify whether an alleged

statement     was    indeed   made    or   omitted   there.   Plaintiffs’

request that the Court take judicial notice of this document

is essentially a request to supplement the facts alleged in

the FAC. The purpose of judicial notice is not to rectify

pleading deficiencies, and the Court may not take notice of

this document in order to remedy Plaintiffs’ failing.11

        Accordingly, the FAC is dismissed as untimely as to

defendants JP Morgan Chase Bank, N.A., J.P. Morgan Securities

plc, and J.P. Morgan Securities LLC. Plaintiffs, however,

have adequately alleged a claim for fraudulent concealment

such that the statute of limitations was tolled from the

beginning of the alleged conspiracy until January 31, 2019

–- the date the European Commission first publicly announced

its investigation -- as to all other Moving Defendants.

E.      ANTITRUST STANDING

        Defendants    next    argue    that    named   Plaintiffs    Ohio

Carpenters, SBCERA, and Local 103 lack antitrust standing.


11   Even if the Court could take judicial notice of this document,
     Plaintiffs ask the Court to take notice of the code of conduct for
     2020, though the hyperlink leads to the 2021 code. (See Opposition to
     New Defendants at 3.) That document significantly postdates the Class
     Period and could not support an argument that Plaintiffs were misled
     by the J.P. Morgan defendants during the Class Period.
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Defendants argue that Plaintiffs especially lack standing to

sue UCM and NSI because the FAC does not allege any trades

involving those defendants, that Ohio Carpenters and Local

103    lack   standing   because   they   traded   through     an   asset

manager, and that all claims fail because “the FAC fails to

allege that each Plaintiff was party to a specific transaction

in a security affected by the alleged conspiracy with a named

Defendant.” (TAC Defendants Letter Motion at 3.) The Court

previously found that all Plaintiffs suffered an antitrust

injury, but that the TAC Plaintiffs lacked standing to sue

BAML     International,    UniCredit      Bank,    and   UCM    because

Plaintiffs did not transact with those Defendants, meaning

Plaintiffs would not be efficient enforcers of the antitrust

laws.

        To have standing to bring suit, an antitrust plaintiff

must (1) have suffered antitrust injury, or injury of the

type the antitrust laws were intended to prevent; and (2) be

an “efficient enforcer” of the antitrust laws against a given

defendant. Schwab Short-Term Bond Mkt. Fund v. Lloyds Banking

Grp., 22 F.4th 103, 2021 WL 6143556, at *16–17 (2d Cir. 2021)

(hereinafter, “In re LIBOR”).




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     1. Antitrust Injury

     Plaintiffs      have   pled   antitrust    injury.      They   allege

Defendants were co-conspirators in a horizontal price fixing

scheme, “perhaps the paradigm of an unreasonable restraint of

trade.” Nat’l Collegiate Athletic Ass’n v. Bd. of Regents,

468 U.S. 85, 100 (1984). The Second Circuit has noted that

“[g]enerally, when consumers, because of a conspiracy, must

pay prices that no longer reflect ordinary market conditions,

they suffer ‘injury of the type the antitrust laws were

intended to prevent and that flows from that which makes

defendants’ acts unlawful.’” Gelboim v. Bank of Am. Corp.,

823 F.3d 759, 772 (2d Cir. 2016) (quoting Brunswick Corp. v.

Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977)).

     Moving Defendants nevertheless argue that Plaintiffs did

not allege antitrust injury “because the FAC fails to allege

that each Plaintiff was a party to a specific transaction in

a security affected by the alleged conspiracy with a named

Defendant.”   (TAC    Defendants    Letter     Motion   at    3.)   Moving

Defendants cite In re SSA Bonds Antitrust Litigation, 420 F.

Supp. 3d 219, 242 (S.D.N.Y. 2019), only for this heightened

requirement. Moving Defendants made this exact argument in

seeking to dismiss the TAC, and the Court explained why it

was unpersuasive at that time. See TAC Decision, 2020 WL


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4273811, at *13. The Court sees no reason, nor do the Moving

Defendants     point    to    any    new     reason,   to    reconsider        that

assessment.     The    Court        remains      persuaded     that   the       FAC

adequately alleges all three Plaintiffs suffered antitrust

injury.

       2. Efficient Enforcer Factors

       Even where a party has pled an injury of the type the

antitrust laws were meant to prevent, the plaintiff must still

establish that it is an efficient enforcer of the antitrust

laws. The efficient enforcer analysis asks a court to ensure

an antitrust plaintiff is the proper party to bring the

lawsuit. There are four factors relevant to the determination

of whether a plaintiff is an efficient enforcer: (1) the

directness     of     the     injury;      (2)    whether     there       is    “an

identifiable     class       of   persons     whose    self-interest           would

normally motivate them to vindicate the public interest in

antitrust enforcement;” (3) the extent to which the alleged

injury is speculative; and (4) the difficulty of identifying

and apportioning damages so as to avoid duplicative recovery.

Volvo N. Am. Corp. v. Men’s Int’l Tennis Council, 857 F.2d

55, 66 (2d Cir. 1988) (quoting Assoc. Gen. Contractors v.

Cal.   State   Council       of   Carpenters,       459     U.S.   519,    540–45

(1983)). The first two factors must be met for a plaintiff to


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have standing, but the latter two factors carry less weight

and typically cannot, on their own, provide a basis for

denying standing to a plaintiff who has suffered an antitrust

injury. See In re Interest Rate Swaps Antitrust Litig., 261

F. Supp. 3d 430, 491 (S.D.N.Y. 2017).

        Plaintiffs    allege,   and    Defendants   do   not   directly

contest, that the FAC alleges a direct injury with respect to

most defendants. Appendix A to the FAC contains a chart that

purports to “display[] the Defendant counterparties with

which Plaintiffs directly traded European Government Bonds

with during the Class Period.” (FAC ¶ 38 n.3.) With that chart

and the allegations elsewhere in the FAC, Plaintiffs have

alleged that at least one named plaintiff transacted directly

with nearly every defendant or that defendant’s agent. There

are three notable exceptions, two of which are relevant here:

NSI and UCM.12

        Focusing first on the defendants with whom Plaintiffs

have alleged direct transactions, the Court re-asserts its

finding in the TAC Decision that the named plaintiffs have

alleged they directly purchased financial instruments with

artificially inflated prices. See 2020 WL 4273811, at *14.



12   The third defendant with whom no named plaintiff is alleged to have
     transacted is State Street Corporation, which has not moved for
     dismissal.
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Hence, Plaintiffs are direct victims, with non-speculative

injuries, to whom damages could easily be apportioned. So it

appears that they are efficient enforcers with regards to

most defendants.

     Moving Defendants argue that such conclusion is false as

to Ohio Carpenters and Local 103 because those plaintiffs

traded through an asset manager and thus were not “direct”

purchasers. Moving Defendants do not cite any authority for

that proposition, and courts in this District have rejected

the argument that an investor’s use of a broker or investment

manager, without further information about the investment

relationship,    renders      such        a     plaintiff     an   “indirect

purchaser.” See In re NASDAQ Mkt.-Makers Antitrust Litig.,

169 F.R.D. 493, 505 (S.D.N.Y. 1996) (finding that brokers

were not “distinct economic entities” but instead buy and

sell securities on behalf of a client, so use of a broker

does not divest the client of a direct injury under the

antitrust laws).

     Ohio   Carpenter   and    Local          103’s   asset   managers   were

acting on behalf of Ohio Carpenter and Local 103. The asset

managers did not suffer the same injury as the entities on

whose behalf they were buying EGBs. While discovery may reveal

further information about the role of those asset managers,


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their employment by Plaintiffs is not enough alone to defeat

standing at the pleading stage.

      Next, the Moving Defendants argue that the FAC alleges

no trades with NSI and UCM, so those two parties should be

dismissed from the action. (See TAC Defendants Letter Motion

at   3.)   That    characterization       is   not   entirely   accurate.

Appendix A does not show that any named Plaintiff transacted

with NSI or UCM. (See FAC Appendix A.) Elsewhere in the FAC,

however, Plaintiffs allege that NSI “transacted European

Government Bonds directly with investors in this District,

including” named plaintiffs Local 103 and SBCERA. (FAC ¶ 149.)

NSI is alleged to have been Nomura’s U.S.-based broker-dealer

and the entity that sold EGBs directly to investors in the

United States during the Class Period. (See FAC ¶ 148.) These

facts seem to contradict the omission of any transactions

between NSI and a named plaintiff from Appendix A. Given this

dispute of fact, the Court will draw a reasonable inference

and resolve any doubt in favor of Plaintiffs and find the

allegations       regarding   NSI   are    sufficient    to     support   a

plausible case that NSI had direct EGB dealings with Local

103 and SBCERA.

      The same cannot be said about the FAC’s allegations

regarding UCM. Plaintiffs allege that UCM is UniCredit’s


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U.S.-based      broker-dealer         that        handles          “Fixed     Income

distribution      of   foreign       securities         to    US    institutional

qualified investment buyers,” (FAC ¶ 92) and “UniCredit Bank

AG . . . distributed European Government Bonds into the U.S.

to . . . its wholly-owned, domestic subsidiary, UniCredit

Capital Markets LLC.” (FAC ¶ 157.) The Court finds these

allegations     do     not    give    rise       to     a    sufficient       agency

relationship between UCB and UCM, as the FAC states that UCB

distributed EGBs to UCM, but not that UCM acted on UCB’s

behalf or as its EGB agent. Further, allegations tying UCM to

any named plaintiff are notably absent. The FAC does not

allege    UCM   transacted       with       a    named       plaintiff,       either

indirectly or directly. Thus, any alleged injury caused by

UCM is indirect and could lead to speculative assessment of

injury or difficulties in computing damages.

       As the Court explained in the TAC Decision, courts in

this   District      have    repeatedly         found   plaintiffs          were   not

efficient enforcers when they did not directly transact with

a defendant. See TAC Decision, 2020 WL 4273811, at *14

(collecting cases). The same reasoning holds true here, and

the FAC should be dismissed against UCM for lack of antitrust

standing. That the FAC contains no allegations plausibly

tying UCM to the claimed conspiracy bolsters this conclusion.


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Cf. NASDAQ Mkt.-Makers, 169 F.R.D. at 508 (“Because antitrust

liability is joint and several, a Plaintiff injured by one

Defendant    as   a   result     of   a    conspiracy      has   standing    to

represent a class of individuals injured by any of the

Defendant’s co-conspirators.” (emphasis added)).

F.      ANTITRUST CONSPIRACY

        Finally, the Moving Defendants seek dismissal under Rule

12(b)(6), arguing that Plaintiffs failed to state a claim for

relief under the Sherman Act. The Court previously found that

Plaintiffs failed to allege an antitrust conspiracy as to all

TAC Defendants except Natixis, Nomura International, and NSI

because Plaintiffs failed to allege facts specifically tying

the other defendants to the alleged conspiracy. See TAC

Decision, 2020 WL 4273811, at *14–17.

        1. Legal Standard

        Section   1   of   the    Sherman      Act    prohibits      “[e]very

contract, combination in the form of trust or otherwise, or

conspiracy, in restraint of trade or commerce among the

several States, or with foreign nations.” 15 U.S.C. § 1. To

state    a   claim    under    Section     1   of    the   Sherman    Act,    a

plaintiff’s complaint must contain sufficient factual matter

that, if taken as true, would support an inference that a

conspiracy actually existed. See In re Mex. Gov’t Bonds


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Antitrust Litig., 412 F. Supp. 3d 380, 387–88 (S.D.N.Y. 2019).

To do so, a plaintiff may assert either (1) “direct evidence

that the defendants entered into an agreement in violation of

the antitrust laws”; or (2) conscious parallelism, where the

interdependent      parallel     conduct     is        accompanied    by

circumstantial evidence and “plus factors” indicative of

conspiracy, such as “a common motive to conspire, evidence

that shows that the parallel acts were against the apparent

individual       economic    self-interest        of     the     alleged

conspirators, and evidence of a high level of interfirm

communications.” Mayor & City Council of Balt. v. Citigroup,

Inc., 709 F.3d 129, 136 (2d Cir. 2013). See also Mex. Gov’t

Bonds, 412 F. Supp. 3d at 388.

     “To survive dismissal, the plaintiff need not show that

its allegations suggesting an agreement are more likely than

not true or that they rule out the possibility of independent

action, as would be required at later litigation stages such

as a defense motion for summary judgment, or a trial.”

Gelboim, 823 F.3d at 781 (internal quotation marks omitted).

Indeed,   Rule    12(b)(6)     “does   not   impose      a   probability

requirement at the pleading stage; it simply calls for enough

fact to raise a reasonable expectation that discovery will

reveal evidence of illegal agreement.” Twombly, 550 U.S. at


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556.    However,         “[p]ost-Twombly authorities       overwhelmingly

hold that a complaint that provides no basis to infer the

culpability of the specific defendants named in the complaint

fails to state a claim.” Mex. Gov’t Bonds, 412 F. Supp. 3d at

388.

       2. Direct Evidence of Conspiracy

       In     the    TAC    Decision,      the   Court    concluded    that

“Plaintiffs undisputedly do not allege any direct evidence of

a conspiracy.” TAC Decision, 2020 WL 4273811, at *15. Unlike

the TAC, the FAC contains numerous excerpts of online chatroom

transcripts containing communications between employees of

various Moving Defendants. Plaintiffs argue these transcripts

should be considered direct evidence of a conspiracy.

       The canonical example of direct evidence is “a recorded

phone call in which two competitors agreed to fix prices.”

United States v. Apple, 791 F.3d 290, 315 (2d Cir. 2015)

(quoting Mayor & City Council of Balt., 709 F.3d at 136).

Direct evidence “must evince with clarity a concert of illegal

action,” N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, 883

F.3d    32,    40    (2d    Cir.   2018)    (quotations    omitted),    and

transcripts         of    communications     between     competitors   may

sometimes provide direct evidence of an antitrust conspiracy.

See, e.g., In re Foreign Exch. Benchmark Rates Antitrust


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Litig., 74 F. Supp. 3d 581, 591–92 (S.D.N.Y. 2015) (finding

chat transcripts provided direct evidence of a conspiracy

where traders shared sensitive information with traders from

other firms); In re GSE Bonds Antitrust Litig., 396 F. Supp.

3d     354,   361   (S.D.N.Y.     2019)   (referring    to   chats    that

“unmistakably show traders, acting on behalf of [defendants],

agreeing to fix prices at a specific level before bringing

the bonds to the Secondary Market” as “the rare smoking gun”).

        The chat transcripts quoted in the FAC show coordination

between       bidding   strategies    and   sharing    of    confidential

information involving several Moving Defendants: RBCE (see

FAC ¶¶ 240, 243, 253, 262, 264, 265, 267); JP Morgan plc (FAC

¶¶ 243, 253, 262, 267); Nomura International (FAC ¶¶ 244,

250, 254, 255, 263); JIL (FAC ¶¶ 257, 266); CGML (FAC ¶ 259);

NatWest Markets (FAC ¶¶ 241, 242, 250, 251, 252, 254, 256);

and UBS Europe.13 (FAC ¶¶ 241, 242, 243, 250, 251, 252, 254,

255, 256, 258, 259, 262, 263, 264, 267.) However, the Court

disagrees with Plaintiffs’ assertion that these transcripts

are “direct evidence that the defendants entered into an

agreement in violation of the antitrust laws.” Mayor & City


13   The Court notes that the FAC uses UBS Europe’s prior name, UBS Limited
     (see FAC Figure 1 (noting “UBS Europe SE (f/k/a UBS Limited[)]”)), in
     its chatroom transcript quotations. Because Plaintiffs have clearly
     alleged that UBS Europe is the successor to UBS Limited, the Court
     finds the allegations related to UBS Limited are relevant to Moving
     Defendant UBS Europe.
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Council of Balt., 709 F.3d at 136. They do not contain any

reference, directly or indirectly, to any such agreement.

       Nonetheless, the Court does find that the existence of

an agreement is implied in these communications, and that

they    constitute       strong     circumstantial       evidence    of     the

conspiracy    Plaintiffs       allege.      The    communications      record

traders    from    “competing”      banks   sharing      information      in   a

manner that would be against their respective employers’

interests. The Court could reasonably infer that responsible

banks, securities dealers, and investment managers would not

countenance       such     improper    conduct      absent     an    unlawful

agreement or conspiracy of some sort among the defendants

charged.

       Taking the facts alleged in the FAC as true, as the Court

must at this stage, these chatroom transcripts constitute, at

minimum,    strong       circumstantial     evidence     of   some   sort      of

agreement among the persons involved. As will be discussed

further below, the FAC’s quotation of chats involving traders

from RBCE, JP Morgan plc, Nomura International, JIL, NatWest

Markets, CGML, and UBS Europe is highly relevant to this

Court’s    determination       of    whether      the   FAC   satisfied     the

applicable pleading standards.




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        3. Parallel Pricing and Plus                Factors    Allowing     an
           Inference of a Conspiracy

        Because the Court finds the FAC fails to allege direct

evidence of an antitrust conspiracy, to survive a motion to

dismiss Plaintiffs must allege parallel pricing supported by

circumstantial evidence of a conspiracy and “plus factors,”

as described in this District’s jurisprudence.

        a. General Allegations of Parallel Pricing

        Plaintiffs      present       statistical      data   and     economic

analysis      that,    they    allege,    shows   anomalous     patterns    of

activity in the prices of French and Italian bonds in the

Primary Market during the Class Periods. (See FAC ¶¶ 270–88;

see also TAC Decision, 2020 WL 4273811, at *16 (explaining

these     allegations).)         Plaintiffs’      allegations         regarding

parallel pricing in the Secondary Market are also similar to

the facts alleged in the TAC. Plaintiffs again include a chart

that shows Defendants’ average relative bid-ask spread was

much higher than that of non-Defendants during the Class

Period.       (See    FAC    Figure    11.)    After    the   Class    Period,

Defendants’ average relative bid-ask spread was far narrower

than it was during the Class Period. (See id.) As explained

above,    a    narrow       bid-ask   spread    tends    to   indicate     more

competitive pricing.



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        Moving Defendants ask the Court to discredit Figure 11

based    on    comparisons      to     its    TAC   counterpart.     (See    TAC

Defendants Letter Motion at 1.) But on a motion to dismiss,

the Court “must accept all facts alleged in the complaint as

true and draw all inferences in the plaintiff’s favor.” New

York ex rel. Tzac, Inc. v. New Isr. Fund, 520 F. Supp. 3d

362, 372 (S.D.N.Y. 2021). Only the facts alleged in this

version       of    the   complaint     are    relevant   to   the    Court’s

assessment -- anything alleged in the TAC is inapposite to

the motions before the Court today. See GSE Bonds, 396 F.

Supp. 3d at 364 (explaining that statistical changes between

an earlier complaint and a later amended complaint are “not

a   reason     to    discount    the    current     statistics”).    Focusing

solely on the FAC, the Court finds the statistics raise a

reasonable         inference    that    Defendants     generally     moved    in

concert to deviate from market prices during the Class Period.

        Despite having generally alleged parallel conduct, to

survive a motion to dismiss, Plaintiffs must also allege (1)

that each specific defendant was involved in this parallel

pricing scheme, and (2) plus factors that support a reasonable

inference of conspiracy encompassing the named defendants and

the conduct factually specified. In line with its focus on




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the general prior to the specific, the Court next turns to

Plaintiffs’ general allegations related to “plus factors.”

     b. General Allegations of “Plus Factors”

     Many of Plaintiffs’ general allegations of a price-

fixing conspiracy described in the FAC are the same as those

alleged in the TAC, which the Court summarized in the TAC

Decision. See TAC Decision, 2020 WL 4273811, at *15–16.

Plaintiffs allege that the structure of the EGB market lends

itself to an inference of concerted action because:

     (1) Defendants have enormous power in the EGB market,

since power is concentrated in a small number of dealers (FAC

¶ 318–19);

     (2) there are high barriers to entry in both the primary

and secondary EGB market (FAC ¶¶ 320–21);

     (3) the structure of both markets is susceptible to

collusion (FAC ¶¶ 322–25);

     (4) there is little transparency in the market and non-

dealers cannot learn of pricing pre-trade, meaning they rely

on their individual dealer (FAC ¶¶ 326–30);

     (5)   Defendants’   conduct      was   contrary   to   their   own

economic interests (FAC ¶ 331);




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     (6) there were incentives to act collusively, namely the

ranking system that influenced primary dealer selection and

increasing company and individual profits (FAC ¶¶ 332–34);

     (7) sharing proprietary information was contrary to a

defendant’s own economic interests            and violated internal

regulatory standards of conduct (FAC ¶¶ 327; 335–36);

     (8) the same traders were involved in the primary and

Secondary Markets, and those traders maintained a close-knit

community (FAC ¶¶ 337–43);

     (9) there was a high level of interfirm communications

(FAC ¶¶ 344–45); and

     (10)    membership     in    industry     trade    organizations

presented an opportunity to collude. (FAC ¶¶ 346–53).

     The    Court   finds   all   ten   of   these   circumstances   to

constitute “plus factors” weighing in favor of an adequately

pled general conspiracy by Defendants to manipulate the EGB

market. See Mayor & Council of Balt., 709 F.3d at 136 (listing

examples of plus factors).

     c. Allegations Related to Specific Defendants

     To survive a motion to dismiss, “[i]t is not sufficient

for the plaintiff to allege that a group has done something

wrong unless the allegations give reason to believe that the

defendant, as a member of the group, also has committed the


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wrong.” Litovich v. Bank of Am. Corp., 20 Civ. 3154, 2021 WL

4952034, at *24 (S.D.N.Y. Oct. 25, 2021). In other words,

general allegations are not enough and the FAC must support

a plausible inference that each individual defendant played

a   role   in   the   alleged   conspiracy.     Plaintiffs    must   show

conscious parallelism, circumstantial evidence, and “plus

factors” for each defendant. See Mayor & Council of Balt.,

709 F.3d at 136.

      To   begin,     the   Court   addresses    an   allegation     that

transformed from general to defendant-specific in the time

since the Court’s prior decision. In the TAC Decision, the

Court noted Plaintiffs’ allegations began with the European

Commission’s Statement of Objections. See TAC Decision, 2020

WL 4273811, at *15. The FAC again begins with the European

Commission’s     investigation      into   an    alleged     EGB-trading

conspiracy. (See FAC ¶ 13.) However, in the time since the

TAC Decision, the European Commission’s actions transformed

from mere investigation to final decision. With that change,

“both the scope and outcome of [that] investigation[] [are]

known,” In re Foreign Exch. Benchmark Rates Antitrust Litig.,

74 F. Supp. 3d 581, 592 (S.D.N.Y. 2015), and the findings are

no longer speculative.




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        The conclusion of that proceeding also transformed the

allegations regarding the European Commission’s investigation

from general to specific, as the identity of the investigated

persons is now public information and those same parties are

named as having committed an anticompetitive wrong in a

different jurisdiction entailing the conduct at issue in the

action now before this Court. As discussed, the Court has

taken judicial notice of the EC Decision which announced that

Moving Defendants BANA, Natixis, Nomura International, NMSI,

parent company UBS AG, and UCB (see EC Decision at 15–17)

distorted      competition          in    the       EGB    industry.       The    European

Commission’s investigation and the subsequent EC Decision

“provide     non-speculative             support          for   the   inference      of   a

conspiracy.” In re Foreign Exchange Benchmark Rates, 74 F.

Supp.     3d        at     592.        While        the     European        Commission’s

investigation            alone    would    be       insufficient       to    support      an

allegation          of    a      plausible          conspiracy,       it     constitutes

circumstantial            evidence       and    a     “plus      factor”      bolstering

Plaintiffs’ allegations against each defendant named in the

EC Decision, and the Court will credit such showing in its

defendant-specific analysis below.

        Before moving to that analysis, the Court also notes

that    it     is    unable       to    discern       any       individual       defendant


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implicated by large swathes of Plaintiffs’ economic analysis,

particularly     that    related         to   fluctuating    yield-to-market

rates. Plaintiffs never reference any individual defendant’s

data being involved in the analysis presented in Figures 7,

8,   9,   or   10.   (See      FAC   ¶    270—88.)   Consequently,         those

statistics alone do not allow the Court to infer a plausible

conspiracy with regards to any Moving Defendant.

      Concerning the bid-ask spread data, the FAC states that

“nine Defendants are primary dealers of Italian government

bonds. The remaining Defendants also actively quoted prices

to investors for [EGBs] issued by Italy during the Class

Period from their respective [EGB] trading desks . . .

Accordingly,     the    data    included       millions     of   price   quotes

specifically attributable to each Defendant (except for State

Street and RBC Europe).” (FAC ¶ 294.) Plaintiffs fail to

specifically     mention       which      nine   Defendants      are     primary

dealers of Italian bonds, but the Court is able to infer

Plaintiffs used data from Merrill Lynch, Natixis, NatWest

Markets, Nomura International, UBS Europe, UCB, CGML, JP

Morgan plc, and JIL, the non-excepted entities defined as




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Primary Dealer Defendants earlier in the FAC.14 (See FAC ¶

23.)

        Plaintiffs subsequently identify Merrill Lynch, Nomura

International, UCB, Natixis, CGML, JIL, and JP Morgan plc in

Figure 12, which shows the change in bid-ask spreads for each

entity from 2012 to 2013. (See FAC Figure 12.) The graph shows

that each defendant narrowed its bid-ask spreads in 2013,

which is contrary to how non-defendant dealers behaved in the

same time period. (See FAC ¶¶ 301–02.) Plaintiffs assert that

this information shows a parallel narrowing of spreads by

Defendants following the end of the Class Period -- that is,

the end of the period during which they allegedly agreed to

maintain wider-than-market bid-ask spreads. (FAC ¶ 304.) In

simpler      terms,   Plaintiffs     allege   that   this    evidence   and

analysis       support     a    plausible      showing      of   conscious

parallelism.

        These entity-specific statistics allow the Court to

infer a conspiracy involving some defendants, but the Court




14   Plaintiffs state the data comes from “each Defendant (except for State
     Street and [RBCE]” and the Court infers “each Defendant” to mean “each
     Primary Dealer Defendant,” with the exception of the two specifically
     excluded. The Court does note that the FAC is unclear regarding whether
     RBCE is a primary dealer. Paragraph 23 of the FAC lists all “Primary
     Dealer Defendants,” and RBCE -- and any other Royal Bank of Canada
     entity -- is absent from that list. (FAC ¶ 23.) Then, a few paragraphs
     later, RBCE is listed as an “AFME Primary Dealer Member” in Figure 1.
     (See FAC Figure 1.)
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must evaluate each defendant family individually to determine

whether Plaintiffs met their pleading standard as to each.

     i.    BANA and Merrill Lynch

     Defendant Merrill Lynch is represented in Plaintiffs’

statistical analysis demonstrating the parallel narrowing of

bid-ask spreads by Defendants following the Class Period.

Figure 12 shows Merrill Lynch’s bid-ask spread narrowed by

over 39 percent in the year following the Class Period. The

Court finds this change bolsters an inference of parallel

conduct   between   Merrill    Lynch    and    the   other   Figure   12

Defendants.   However,    as   courts     in    this   District   have

repeatedly noted, allegations of conscious parallelism are

not enough to create an inference of a conspiracy; they must

be accompanied by circumstantial evidence and “plus factors”.

See Mayor & Council of Balt., 709 F.3d at 136 (“Generally,

however, alleging parallel conduct alone is insufficient,

even at the pleading stage.”). Focusing on defendant Merrill

Lynch, the Court cannot identify other allegations that meet

this standard. Thus, the Court concludes that, as it relates

to Merrill Lynch, the FAC fails to supplement its allegations




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of parallel pricing with sufficient circumstantial evidence

and plus factors.

       On the other hand, Defendant BANA is referenced in the

EC Decision, listed as the employer of an EGB trader whose

actions implicated Bank of America in the conspiracy. (See EC

Decision at 15.) The Court credits the European Commission’s

findings as a plus factor, but Plaintiffs have failed to

allege parallel conduct as to BANA, so the presence of plus

factors is irrelevant.

       The   FAC   alleges   Merrill    Lynch   engaged   in   parallel

pricing conduct, and it provides circumstantial evidence

about BANA that provides a “plus factor” supporting the

inference of a conspiracy. But these two halves do not make

a whole, as the FAC fails to tie these two defendants together

such that the Court can infer the existence of a conspiracy

as   to   either   individual   defendant.      Defendants     BANA   and

Merrill Lynch are both wholly-owned subsidiaries of Bank of

America Corporation, but that is the only connection between

these entities apparent from the FAC. The Court is unable to

draw   any   inference   that   an     agency   relationship    existed

between these entities. The FAC has failed to adequately




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allege BANA and Merrill Lynch were involved in the price-

fixing conspiracy, and the FAC must be dismissed against them.

       ii.     Natixis

       The FAC readily satisfies the pleading requirements to

state a claim against Natixis. Figure 12 and Plaintiffs’

economic analysis show that Natixis’s bid-ask spread narrowed

by over 66 percent at a time when other Defendants’ spreads

were    also    narrowing,      but    non-defendants’        spreads   were

widening. (See Figure 12.) The Court finds this data is

probative of parallel conduct and supports an inference that

Natixis was acting in concert with the other defendants

referenced in Figure 12 when it narrowed its spreads following

the end of the Class Period.

       Unlike    the   case    of   Merrill    Lynch,   the    FAC   alleges

circumstantial evidence and plus factors about Natixis’s

involvement in the alleged conspiracy. Most notably, Natixis

is named in the EC Decision as a party to the EGB cartel, and

the FAC alleges Natixis was one party subject to the European

Commission investigation. (See FAC ¶ 311.) When considered in

combination with Plaintiffs’ general allegations set forth in

the    FAC,     the    Court   finds       these   specific     allegations

adequately tie Natixis to the alleged conspiracy. The Court

is able to infer a price-fixing conspiracy involving Natixis


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from the facts alleged in the FAC, so Natixis’s motion to

dismiss is denied.

      iii. NatWest Markets and NMSI

      The specific allegations regarding NatWest Markets and

NMSI fail to state a claim for reasons similar to those

related   to   BANA   and   Merrill     Lynch.   Plaintiffs   fail    to

adequately allege parallelism because the only evidence of

such parallel pricing is that data from NatWest Markets is

included in Figure 11’s aggregated statistics. But as the

Court noted in the TAC Decision, “aggregate statistics do not

alone suffice to impute wrongful conduct to any particular

defendant.” TAC Decision, 2020 WL 4273811, at *17 (citing

Mex. Gov’t Bonds, 412 F. Supp. 3d at 390). Based only on

aggregate statistics, the Court is unable to infer whether

NatWest Markets was actually adjusting its prices in concert

with its alleged co-conspirators.

      NatWest Markets’s traders are quoted several times in

the chatroom transcripts, (see FAC ¶¶ 241, 242, 250, 251,

252, 254, 256), but these transcripts reflect only a sharing

of   information,     not   conscious    parallelism.   See   Mayor    &

Council of Balt., 709 F.3d at 136) (listing “evidence of a

high level of interfirm communications” as a plus factor that,

“when viewed in conjunction with parallel acts” can allow a


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factfinder to infer a conspiracy). To survive a motion to

dismiss, adequately alleging parallel conduct is the first

prerequisite          for    an   antitrust    plaintiff        lacking    direct

evidence.

        So, despite Plaintiffs’ allegations that employees from

NatWest Markets communicated with competitors, and that NMSI,

an affiliate of NatWest Markets, is named in the EC Decision,

the Court cannot conclude that Plaintiffs stated a plausible

claim for relief. Plaintiffs have failed to allege specific

actions that allow an inference that NatWest Markets (over

which     the     Court       also    found    that      it     lacks     personal

jurisdiction)          or    NMSI    consciously      mirrored     the    pricing

decisions of their co-defendants. The FAC must be dismissed

as to both parties.

        iv.     Nomura International and NSI

        The FAC provides ample support allowing the Court to

infer Nomura International and its New York-based affiliate

and agent, NSI, were involved in a conspiracy to restrain

trade    in     the    EGB   market.    As    is   the   case    with     Natixis,

Plaintiffs have specifically alleged Nomura International

narrowed its bid-ask spreads following the Class Period.

Nomura International’s bid-ask spreads were nearly 28 percent

narrower in 2013 than they were in 2012. (See FAC Figure 12.)


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Figure        12    shows      several   other      Defendants     saw   similar

significant positive changes in this time period, so the Court

finds     this           examination     of      Nomura-specific     data,     in

conjunction with the more general allegations, is sufficient

to support an inference of conscious parallelism at this point

in the proceedings.

        The        FAC    further     includes     specific      circumstantial

evidence and plus factors related to Nomura International.

Nomura International is named in the EC Decision, (see EC

Decision at 15; FAC ¶ 311), and its traders were very active

in the interfirm chatroom communications. (See FAC ¶¶ 244,

250, 254, 255, 263.) It is easy for the Court to infer a

conspiracy involving Nomura International from the FAC. And,

as the Court explained in the TAC Decision, Plaintiffs have

adequately alleged an agency relationship between                         Nomura

International            and   NSI,    wherein    the   two   affiliates     work

together in the primary and secondary EGB markets. See TAC

Decision, 2020 WL 4273811, at *19. The allegations explaining

the relationship between Nomura International and its U.S.-

based affiliate NSI allow the Court to further infer, at this

stage in the proceeding, NSI’s involvement in the alleged

conspiracy. The motion to dismiss the case against Nomura

International and NSI is denied.


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      v.     UBS AG, UBS Europe, and UBS Securities

      The allegations against UBS AG, UBS Europe, and UBS

Securities fail to allege a plausible conspiracy for the same

reasons the claims against NatWest Markets and NMSI failed.

Plaintiffs use only aggregate statistics, with no further

supporting UBS-specific allegations, to tie the UBS parties

to   the    parallel   pricing   scheme.   As   explained,   this   is

insufficient to create an inference that the UBS parties were

individually involved in any conscious parallelism. Without

direct evidence or parallel conduct, Plaintiffs have failed

to allege an antitrust conspiracy. This conclusion holds

despite      Plaintiffs’    allegations     about    UBS     Europe’s

participation in online chatrooms or its being named in the

EC decision.

      vi.    UCB and UCM

      The Court next concludes that the FAC adequately alleges

an antitrust conspiracy against UCB, but not UCM, against

whom the Court has determined above that Plaintiffs lack

antitrust standing. As discussed in the Court’s discussion of

antitrust standing, the FAC does not assert that UCB and UCM

maintained an agency relationship.

      While the allegations against UCM are lacking, those

against UCB are robust. Figure 12 shows UCB’s bid-ask spreads


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saw a 65.92 percent change between 2012 and 2013, which gives

rise to an inference of parallel pricing. (See FAC Figure

12.)   In   addition   to   Plaintiffs’     general     allegations   of

circumstantial evidence and plus factors, UCB is named in the

EC Decision as an investigated party. (See EC Decision at

15.) Though the case against UCB is slightly weaker than that

against other Moving Defendants due to UCB’s absence from the

chatroom transcripts, the Court nevertheless concludes it is

able to draw a plausible inference that UCB was a member of

the alleged conspiracy. The FAC must be dismissed against

UCM, but cannot be dismissed against UCB.

       vii. CGML and CGMI

       Plaintiffs sufficiently allege an antitrust conspiracy

against CGML and its New York-based agent-affiliate, CGMI.

Figure 12 shows CGML’s bid-ask spreads narrowed by over 54

percent from 2012 to 2013, supporting an inference of parallel

conduct     with   other    alleged      co-conspirator     Defendants

recording similarly narrowed spreads. (See FAC Figure 12.)

Providing further support for an inference of conspiracy are

the allegations that a CGML trader shared pricing information

with traders from competitor firms, as evidenced through

chatroom    transcripts.     (See     FAC   ¶   259.)    This   strong,

individualized piece of circumstantial evidence combines with


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Plaintiffs’ generalized allegations to create a plausible

inference that CGML and its agent CGMI were involved in the

alleged conspiracy. Accordingly, CGML and CGMI’s motion to

dismiss must be denied.

     viii. JP Morgan plc, JP Morgan Bank, and JP Morgan LLC

     Because the Court has already determined that the suit

against the JP Morgan defendants is time-barred, the Court

declines to assess the allegations directed at this group of

defendants.

     ix.    RBCE, Royal Bank of Canada, and RBC Capital Markets

     The FAC fails to adequately allege a conspiracy against

defendants RBCE, Royal Bank of Canada, and RBC Capital Markets

because    it   contains     no   allegations    that   any   of   these

defendants engaged in parallel pricing. RBCE is specifically

omitted from the aggregate statistics supporting Figure 11

(see FAC ¶ 294), and Plaintiffs present no individual data

regarding RBCE, Royal Bank of Canada, or RBC Capital Markets

in Figure 12. The Court is unable to discern any other

individual-focused allegations of parallel pricing from the

FAC. As the Court has already stated, binding precedent

establishes     that,   in    the   absence     of   direct   evidence,

conscious parallelism must be plausibly alleged for a Section

1 claim to survive a motion to dismiss. Thus, the action must


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be dismissed against RBCE, Royal Bank of Canada, and RBC

Capital Markets.

        x.      JIL and Jefferies LLC

        Finally, the Court finds that Plaintiffs have alleged a

conspiracy involving JIL and Jefferies LLC. Figure 12 shows

JIL’s bid-ask spreads changed by nearly 44 percent in the

year following the Class Period, mirroring dramatic rates of

narrowing by its alleged co-conspirators. As was the case

with the other defendants, these JIL-specific allegations

satisfy Plaintiffs’ burden of creating a plausible inference

of   conscious      parallelism.        When   viewed      in   totality    with

Plaintiffs’       general    allegations       and   the    fact   that    JIL’s

traders actively shared information with competitors in the

chatrooms (see FAC ¶¶ 257, 266), the Court is able to infer

JIL’s        involvement    in   the     alleged     conspiracy.     Further,

Plaintiffs adequately allege that Jefferies LLC acted as an

agent of JIL, so the Court is able to infer Jefferies LLC was

similarly involved in the alleged wrongdoing. The motion to

dismiss JIL and Jefferies LLC must be denied.

                                       ORDER

        For the reasons discussed above, it is hereby

        ORDERED that the motions so deemed by the Court as filed

by defendants Bank of America, N.A. (“BANA”); Merrill Lynch


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International (“Merrill Lynch”); Natixis S.A. (“Natixis”);

NatWest Markets plc (“NatWest Markets”); NatWest Markets

Securities Inc. (“NMSI”); Nomura Securities International

Inc. (“NSI”); Nomura Securities International plc (“Nomura

International”); UBS AG; UBS Europe SE (“UBS Europe”); and

UBS Securities LLC (“UBS Securities”); UniCredit Bank AG

(“UCB”); UniCredit Capital Markets LLC (“UCM”); Citigroup

Global Markets Limited (“CGML”); Citigroup Global Markets

Inc. (“CGMI”); JP Morgan Chase Bank, N.A. (“JP Morgan Bank”);

J.P. Morgan Securities plc (“JP Morgan plc”); J.P. Morgan

Securities   LLC   (“JP   Morgan      LLC”);    RBC   Europe    Limited

(“RBCE”); Royal Bank of Canada; RBC Capital Markets (“RBC

Capital Markets”); Jefferies International Limited (“JIL”);

and Jefferies LLC to dismiss (Dkt. Nos. 206-1; 206-2; 206-

3), the Fourth Amended Consolidated Class Action Complaint of

Plaintiffs Ohio Carpenters’ Pension Fund (“Ohio Carpenters”),

San   Bernardino    County   Employees’        Retirement      Associate

(“SBCERA”), and Electrical Workers Pension Fund Local 103

I.B.E.W. (“Local 103,” and collectively with the foregoing,

“Plaintiffs”), (see “FAC,” Dkt. No. 143) are DENIED as to

Natixis, Nomura International, NSI, UCB, CGML, CGMI, JIL, and

Jefferies LLC, and GRANTED as to Merrill Lynch, BANA, NatWest

Markets, NMSI, UBS AG, UBS Europe, UBS Securities, UCM, JP


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Morgan plc, JP Morgan Bank, JP Morgan LLC, RBCE, RBC Capital

Markets, and Royal Bank of Canada. The FAC is hereby dismissed

without prejudice against defendants Merrill Lynch, BANA,

NatWest Markets, NMSI, UBS AG, UBS Europe, UBS Securities,

UCM, JP Morgan plc, JP Morgan Bank, JP Morgan LLC, RBCE, RBC

Capital Markets, and Royal Bank of Canada (collectively, the

“Dismissed Defendants”); and it is further

     ORDERED that the letters filed by Plaintiffs so deemed

by the Court as motions for judicial notice (Dkt. Nos. 203;

217) are GRANTED; and it is further

     ORDERED that the remaining Defendants are directed to

Answer within twenty-one days of the date of this Order.


SO ORDERED.

Dated:     New York, New York
           14 March 2022

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